                                                                                Motion GRANTED.

                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )       No. 3:10-00262-2
                                             )             xxxxxx Trauger
                                                     Judge Haynes
DANIEL HUDGINS                               )

                              MOTION TO DISMISS INDICTMENT

       COMES NOW, the United States of America, by and through the undersigned Assistant

U.S. Attorney, and respectfully requests the Court, pursuant to Rule 48(a) of the Federal Rules of

Criminal Procedure, to dismiss the indictment against defendant Daniel Hudgins. In support of

this motion, the government submits that Mr. Hudgins is now deceased as evidenced by the

attached death certificate.




                                                     Respectfully submitted,
                                                     JERRY E. MARTIN
                                                     United States Attorney for the
                                                     Middle District of Tennessee

                                                      s/ Philip H. Wehby
                                                     PHILIP H. WEHBY
                                                     Assistant United States Attorney
                                                     110 9th Avenue South, Suite A-961
                                                     Nashville, TN 37203
                                                     615-736-5151




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